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                                                                                  I*XLD IN cLERK-s oFfri
                                                        r                           T.D.D .C .-Atla,nta
 1                    IN THE UNITED STATES DISTRICT COUNT
                     FOR THE NORTHEN DISTRICT OF GEORGIA     MAY 1 12 005
 2
                               ATLANTA DIVISION           LUTHEHIIMAS,
                                                             V          Clerk     8Y.
 3
                                                                           . .             ty ei
 4
  I TONY L. WARE, CEO and
 5 T. L. WARE BOTTLING CO ., INC.,
                                                }
                   Plaintiffs,
 7          vs.                                     CIVIL ACTION FILE NUMBER :
                                               ~    I :05-CV-0426-MHS
 8
  I FLEETBOSTON FINANCIAL CORP .
 9 F/KIA BANKBOSTON CORP .                          BRIEF AND MENORADUM OF LAW
                                               }
10
                   Defendant .                      FILED IN SUPPORT MOTION TO DISMSS
71
     REVISED B REIF AND MEMORANDUM OF LAW IN SU PPORT
12
          OF MOTION TO DISMISS AN D REMA ND CASE
13
            COMES NOW, TONY L. WARE, CEO and T. L . WARE BOTTLING
14
     COMPANY, INC., the Plaintiffs and files their BRIEF AND MEMORANDUM OF
15
     LAW in support of the Plaintiffs' joint Motion to Dismiss and Remand Case pursuant
16
     to the Federal Rules of Civil Procedu res, Rule 12(h)(3) against the above-named
17   Defendant FLEETBOSTON FINANCIAL CORPORATION .                               The Court must
18   remand on Plaintiffs' motion pursuant to 28 U .S . C . § 1447(c) this civil action back to

19   the Superior Court of Fulton County because of the following :
                                      1 . INTRODUCTION
20
          The Plaintiffs' hereby incorporates all statement of facts averred in their prior
21
     brief and memorandum of law filed with the Court on March 75t h , 2005 .
22
     FleetBoston's attorneys attempts to mislead the Court because they know that this
23   Court lacks subject matter jurisdiction because FleetBoston of Delaware is not the
24   real party Defendant . FleetBoston Financial Corp ., of Delaware lacks legal standing
     remove this action from the Fulton Superior Court as a dissolved corporation .
25




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  1            There are two FleetBoston Financial Corporations . One corporation is a
       "Place Holder Corporation" or "shell or Dummy" corporation used by the above
  2
       named Defendant to mislead the Plaintiffs, the Court, the general public and the other
  3
       corporation is a holding company merged with Bank of America . However, both
  4
       corporations were properly served with Summons and Complaint through the
  5    Georgia Secretary of State on December 10t", 2004 because both corporations had

  6    withdrawn from doing business in this State which legally appointed the Georgia
       Secretary of State to be their agent for all service of process .
  7
               Only Defendant FleetBoston Financial Corporation f/k/a BankBoston
  8
       Corporation a Rhode Island corporation had the right to remove this case as a matter
  9    of law . FleetBoston Financial Corporation of Delaware needed FleetBoston Financial
10     Corporation f/k/a BankBoston Corporation of Rhode island's consent prior to the
       removal of the Plaintiffs' case under the unanimity rule set by the Court of Appeals for
'I 1
       the Eleventh Circuit . See, In re Bethsda Mem '1 Hosp., Inc., 123 F.3d 1407, 1410
12
       n .2 (11th, Cir 1997) ("The failure to join all defendants in the petition is a defect in the
13     removal procedure") . It should also be clear to the Court under the facts of this case
14     and the evidence presented to the Court that FleetBoston Financial Corporation of

15     Delaware a "Place Holder Corporation" is noting more then a "Dummy Corporation ."
               The Plaintiffs further avers that since FleetBoston Financial Corporation of
16
       Delaware attempted to take the " Place" of Defendant FleetBoston Financial
17
       Corporat i on f/k/a BankBoston Corporation of Rhode Island . FleetBoston Fi nanc ial
18     Corporation of Delaware needed the legal consent of Defendant FleetBoston
19     Financial Corporation f/k/a BankBoston Corporation of Rhode Island to remove this
       civil action .   Thus Defendant FleetBoston Financial Corporation f/k/a BankBoston
20
       Corporation could not legally give its consent to FleetBoston Financial Corporation of
21
       Delaware as a d issolved corporation which has no legal ex i stent . Thus in order to
22 'i have standing to remove this action FleetBostion Financial Corporat ion of Delaware

23

24

25




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 7   must have a capacity to remove this action and further show i njury by the Plaintiffs .

 2   There can be no legal injury to a corporation which has been dissolved . '
                Therefore , FleetBostion Financial Corporation of Delaware is not the proper
 3
     party to remove this act i on and thus lacks legal stand i ng to remove Plaintiffs ' action .
 4
     Not only do FleetBsotion Financial Corporation of Delaware lacks legal standing to
 5   remove Plaintiffs' civil acti on from State Court , the removal process itself became

 6   moot once Plaintiff Tony L . . Ware filed h i s Notice of Appeal in the State Court . The
     case was no longer a l ive case under O.C. G. A. § 5-6-34(a) . The removal was also
 7
     moot because FleetBoston Financial Corporation of Delaware lacked a legally
 8
     cognizable i nterest in the outcome of this case as dissolved corporation .               See,
 9   Murphy v. Hun!, 455 U .S . 478 , 102 S .Ct . 118 , 71 L.Ed.2d 353 (1982) .
10                                         ll . D ICUSSIO N

11              The Defendant FleetBoston Financial Corporation of Rhode Island used its
     dummy corporation namely FleetBoston Financial Corporation of Delaware to evade
12
     process and legal liability .    This was a fraud on the Plaintiffs in th is action and the
13
     general publ ic.      In attempting to mislead the Pla i ntiffs , the Court and the general
14   public, FleetBoston Financial Corporation of Delaware was unlawfully using the
15   corporate name of FleetBoston Financial Corporation f/k/a BankBoston of Rhode

16   Island .     FleetBoston of Delaware fa i led to file a required Affidavit of Consent from
     FleetBoston Financial Corporation of Rhode Island with the Georgia Secretary of
17
     State when it filed its application for Certificate of Authority .
18
                Georgia Law O.C .G .A. § 14 -4-22 must be read to apply to all corporation doing
19   business in Georgia both domestic and foreign corporations . Thus the FleetBostons
20   ware both barred from using the same name without an affidavit of consent from the
     owner of the real corporate name . See, O.C.G .A. § 14 -4-22 which reads as follows :
21

22

23           1 The right to remove this action by FleetBoston Financial Corporation of Delaware
     was moot because FleetBoston was a dissolved corporation and lacked a legally cognizable
24   interest in the outcome of the Plaintiffs' case . See, Westmoreland v . National Transportation
     Safety Board, 833 F .2d 1461,1462 (11th, Cir 1987) district courts lacks subject matter
25   jurisdiction on moot issues . Mootness is jurisdictional that cannot be waived by the parties .
     See also Murphy v. Hunt, 455 U .S. 478, 102 S .Ct . 1181, 71 L .Ed .2d 353 (1982) .



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     1                        "Whenever application is made to the Secretary of
                       State to obtain a charter or authorization of articles of
   2                   incorporation for any purpose, it shall be unlawful for
                       the applicant either to use the name of any person,
   3                   order, lodge, or corporation as a corporate name or to
                       mention any such name in connection with the purpose
  4
                       of such proposed organization without furnishing at the
  5                    time of application an affidavit of consent executed by
                       such person, order, lodge, society or corporation ."
  6
                No such Affidavit of Consent was ever filed with the Georgia Secretary of
  7
         State when FleetBoston Financial Corporation of Delaware filed its application for
  8      Certificate of Authority . (See , Complaint) . Since the Plaintiffs were mislead and were

  9      under the impression that both corporations were the same corporate entity both
         corporations are deemed properly served with Summons and Complaint through the
10
         Georgia Secretary of State . Serv i ce was proper since both corporations had
'! 1
         withdrawn from doing business in this State and had appoi nted the Georgia
12   Secretary of State to be their agent for all service of process . See , Amended Return
13 I of Serv i ce of Process .

14                     I11. ARGUME N T AND CITATION OF AUTHORITY

75              Under Fed.R .Civ.P., Rule 12(h)(3) if at any stage of the proceedi ng any party

16       can properly show the Court that it lacks subject matter j urisdiction , the Court must
         dismiss the action . See, Rule 12(h)(3) which read as follows :
17
                            "(3) Whenever it appears by suggest i on of the
18                    parties or otherw ise that the court lacks jurisdiction of
                      the subject matter, the court shall dismiss the action ."
19

20                          (A) THE NOTICE OF REMOVAL IS UNTIMELY
               The N otice of Removal is untimely as it was filed more then 3 4 days late (on
21
         February 15th, 2005 by the wrong party and without the consent of Defendant
22
         FleetBoston Financial Corporation f/k/a BankBoston Corporation of Rhode Island)
23       after receipt of the initial Summons, Complaint and Request for Admissions an
24       December 10t", 2004 by the Georgia Secretary of State as Defendant's legal agent .
         Under 28 U . S . C. § 1446 ( b ) said notice must be filed within 30 days .
25




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 7          Section 1446(b) reads as follows :

 2                          ,,The notice of removal of a civil action or
                    proceeding shall be filed with in thirty day s after the
 3                  rece i pt by the defendant , through service or otherwise ,
                    of a copy of the i niti al plead ing setti ng forth the clai m
 4                  for rel ief upon which such action or proceeding i s
                    based , or within th i rty days after the service of
 5                  summons upon the defendant if such init ial pleading
                    has then been filed in court and is not requ ired to be
 6                  served on the d efendant, whiche ver period is shorter."
 7          The United States Supreme Court has held in Murphy Brothers , Inc., v.
 8   Michetti Pipe Strin_pin_p , Inc., 526 U .S . 344, 119 S .Ct. 1322, 143 L.Ed . 2d 448
     (1999) the following to wit :
 9
                          "Fi rst, if the summons and compla i nt are served
10                  together, the 30 day per i od for removal r uns at once ."
11          As averred herein both Defendant FleetBoston Financial Corporation f/k/a
12   BankBoston Corporation a Rhode Island corporation and FleetBoston Financial

13   Corporation a Delaware Corporation filed Certificates of withdrawal from doing
     business in this State pursuant to O.C . G ,A. § 14 -2-1520 ( b) which legally appoints the
14
     Georgia Secretary of State to be their legal agent for all service of process in this
15
     action pursuant to O.C.G .A. § 14 -2-1520(c) . A Court Appointed Process Server, Mr.
16   Harry J . Mathis served both corporations by serving the Georgia Secretary of State
17   on December 14th , 2004. See, filed Return of Service and Amended Return of
     Service . Therefore, service of process was perfected on Defendant FleetBoston
18
     Financial Corporation       flk/al   BankBoston Corporation of Rhode Island and
19
     FleetBoston Financial Corporation of Delaware Corporation when the Georgia
20   Secretary of State received a copy of the Summons, Complaint and Request for
21   Admissions on December 10t", 2005 . The Georgia Secretary of State has legally

22   Acknowledged Receipt of this Service of Process . See, Exhi b it "J" attached hereto .
     Under Georgia Law any legal service of process on the Georgia Secretary of State is
23
     deemed legal service of process on any withdrawn foreign corporation pursuant to
24
     O.C .G . A. § 14-2-1620(c) which reads as follows :
25




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 7                            "(c) After the withdrawal of the corporat ion is
                      effect ve , serv i ce of process on the Secretary of State
                            i
 2                    under this Code section is service on the foreign
                      corporat i on .
 3
              Under Georgia Law it is only when the Georgia Secretary of State receives the
 4
       Summon , Compla i nt and Request for Adm issions that service is perfected and not
 5
       when a Defendant receives its copy by mail which starts the 30 day response time to
 6 I which a named party can remove a civil case to a Federal D istrict Court .

 7            Both the Defendant FleetBoston Financial Corporation                  flklal BankBoston
       Corporation of Rhode Island and FleetBoston Financial Corporation of Delaware both
 8
       corporations had (30) days or until ( January 10 th, 2005) after receipt by the Georgia
 9
       Secretary of State of the Summons, Complaint and Request for Admissions to file
10     their Notice of Removal with this Court pursuant to 28 U .S. C . § 1446 ( b) with the
11     consent of all party Defendants pursuant to 28 U. S .C . § 1441 (a) .

12            Therefore , the January 28 t", 2005 Final Judgment 's findings of fact and
       conclusions of law, holding that proper and legal service of process was made on the
13
       Defendant FleetBoston Financial Corporation f/klal BankBoston Corporation of Rhode
14
       Island through the Georgia Secretary of State, must be deemed final by this Court as
15     a matter of law . As averred by the Plaintiffs, this civil action, is against FleetBoston
16     Financial Corporation f/k/a BankBoston Corporation a Rhode Island corporation and
       not FleetBoston Financial Corporation a Delaware corporation which is only a "Shell
17
       or Dummy" corporation used by Defendant FleetBoston Financial Corporation f/klal
18
       BankBoston Corporation of Rhode Island to mislead the Plaintiff, the Court and the
19     general public . They also tried to evade service of process .
20               ( B) DEFENDANT FLEETBOSTON FINANC IAL CORPORATION F I K IA
                       BANKBOSTON CORPORATION HAS NOT CONSENTED
21                            TO THE REMOV AL IN THIS ACTION

22            Additionally, the unanimity rule requires that all named defendants consent to
       the removal . See, Russell Corp., v. Am Home Assurance Co ., 264 F. 3d 1040
23 i
       ( 71 t'', C ir 2001) ; Holder v. City of Atlanta , 925 F. Supp . 783 ( N. D . Ga. 1996 ).
24
              In this civil action only Defendant FleetBoston Financial Corporation f/k/a
25     BankBoston Corporation a Rhode Island corporation had the right to remove this



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   1   case to the proper Federal District Court as a matter of law . Thus, if FleetBoston

  2    Financial Corporation of Delaware had wished to intervene in this action, and be
       properly named as a party Defendant, it should have done so in the trial Court below .
  3
       It's now too late to intervene in this action after this case had been improperly
  4
       removed . It is clear that FleetBoston Financial Corporation of Delaware needed
  5    FleetBoston Financial Corporation f/k/a BankBoston Corporation of Rhode Island
  6    consent prior to removal of this case under the unanimity rule set by the Court of
       Appeals for the Eleventh Circuit . in Russell Co rp., v. Am Home Assurance Co .,
  7
       Supra, the Eleventh Circuit concluded the following :
  8
                               " . . .The law is well settled that i n cases involv i ng
  9                    multiple defendants , all defendants must consent to the
                       removal of a case to federal cou r t.            Like all rules
10                     governing remo val , this unan i mity requirement must be
                       strictly interpreted and enforced because of the
'I 1                   si gnificant federal i sm concerns arising i n the context of
                       federal removal jurisdict ion ."
12
               Thus, the lack of this consent constitute a legal defect in the removal process .
13
       See, In re Bethsda Mem'1 Hos                Inc., 123 F .3d 1407, 1410 n .2 (11 th, Cir 1997 )
14
       ("The failure to join all defendants in the petition is a defect in the removal
75     procedure") . The record in this civil action shows no such consent by FleetBoston
16     Financial Corporation f/k/a BankBoston Corporation of Rhode Island .2
                    (C) THE COURT LAC KS SUBJ ECT MATTER JUR ISDICTION
17
               The Court lacks subject matter jurisdiction over this civil matter because it
18
       lacks original jurisdiction over Federal RICO . Although Federal RICO claims may be
19     within the Court's jurisdiction . All state Courts have RICO statutes which
20     incorporates the Federal RICO statute . The State Courts in this manner enjoys

21     concurrent jurisdiction with District Courts over Federal RICO claims . This Court
       does not have removal subject matter jurisdiction over Federal RICO claims under 18
22

23

24              2 Thus, FleetBoston Financial Corporation of Delaware and its attorneys are trying to mislead
       this Court with its untimely attempt to remove this case from the Superior Court of Fulton Count and by
25     having illegal ex parte communications and secrete meetings with the judges of that Court . The
       Plaintiffs intents to move this court later for the appropriate sanctions under Rule 11 .



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 1   U .S .C . 1961 even though Federal RICO may raise a federal question under 28
     U .S .C . § 1331 . See, Co_gdell v. Wyeth, 366 F . 3d 1245, 1247 ( 11 t", Cir 2004) .
 2
            A clear reading of the Complaint clearly shows that most of all of Plaintiffs"
 3
     claims arises under State laws such as Fraud, Theft, Continuing Torts, Trespass,
 4   Damage to Property, Conversion and State RICO claims which joins the Federal
 5 I RICO claims in this action . The removal statute should be construed narrowly .

 6          This Court must take judicial notice of Plaintiffs' State Law claims and further
     note that the "mere presence of a federal issue in a state cause of action does not
 7
     automatically confer federal-question jurisdiction ." See, Diaz v. Sheppard, 85 F . 3d
 8
     1502 at 1505 ( 11 t" Cir 1996) quoting Merrell Dow Pharmaceuticals, Inc., v.
 9   Thompson, 478 U . S . 804, 106 S.Ct. 3229, 92 L . Ed .2d 650 ( 1986) . Thus, there is no
10   substantial question of federal law must be answered to determine the Plaintiffs'
     claims in this matter and federal jurisdiction is lacking . See also Ra y v. Tennessee
11
     Valley Authority, 677 F .2d 818 at 825-826 ( 11 th, Cir 1982 ) . The Plaintiffs' Federal
12
     RICO claims are connected with Plaintiff's State R I CO claims . The United States
13   Supreme Court has made this determination very clear in Tafflin v. Levitt, 493 U .S.
14   455, 110 S.Ct. 792, 107 L.Ed .2d 887 (1990) by holding that :

15                        "Under this system of dual sovereignty, we have
                   consistently held that state courts have inherent
16                 authority, and are thus presumptively competent, to
                   adjudicate claims arising under the laws of the United
17                 States ." "As we noted in Claflin v. House, 93 U .S. 130
                   (1876), if exclusive jurisdiction be neither express nor
18                 implied, the State Courts have concurrent jurisdiction
                   whenever, by their own constitution, they are competent
19                 to take it." "For all of the above reasons, we hold that
                   state courts have concurrent jurisdiction to consider
20
                   civil claims arising under RICO . Nothing in the
21                 language, structure, legislative history, or underlying
                   policies of RICO suggests that Congress intended
22                 otherwise . The judgment of the Court of Appeal is
                   accordingly Affirmed ."
23
            Since Plaintiffs ' RICO claims are not one which comes within this Court 's
24
     original jurisdiction, this Court clearly lacks removal jurisdiction . See, Co_gdell v.
25   Wyeth, 366 F.3d 1245, 1247 ( 11 t", Cir 2004 ) the Eleventh Circuit has held :



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 1                        "Thus, one prerequisite for removal jurisdiction is
                   that the case originated in the state court . Another is
 2                 that the defendant removes the case to the proper
                   federal district court . A third is that the federal district
 3                 court have original jurisdiction to entertain the law suit .
                   If any one of these prerequisites is lacking, the district
 4
                   court can be said to lack removal jurisdiction ."
 5                        "Finally a district court could lack removal
                   jurisdiction under § 1441 if the case is not one over
 6                 which the court has original jurisdiction . Only in this
                   final example would a lack of removal jurisdiction
 7                 coincide with a lack of subject matter jurisdiction . . .."

 8          The U .S . Supreme Court has noted that "[s]ince the beginning of this country's

 9   history Congress has, subject to few exceptions, manifested a desire to permit state
     courts to try state cases free from interference by federal courts ." See, Younger v.
10
     Harris, 401 U .S . 37, 43 (1971) . While 28 U .S.C. § 1441 (a ) authorizes the removal
11
     of any case that could have originally been brought in federal Court, 28 U .S.C.
12   § 1441(c) restricts (albeit in the negative) this right to those cases containing
13   nonremovable claims joined with a "separate and independent" removable claim .

14          This distinction is consistent with the language of 28 U. S .C . § 1441(x ) granting
     to defendants the right to remove a case "[e]xcept as otherwise expressly provided
15
     by Act of Congress ." FleetBoston Financial Corporation of Delaware admits in its
16
     Notice of Removal that the Plaintiffs' state law claims "are so related to his federal
17   claim that they form part of the same case or controversy ." A reading of the Plaintiffs'

18   Complaint confirms this view . Because the Plaintiffs' federal claims are not "separate
     and independent" and are "joined with one or more otherwise nonremovable claims,"
19
     removal is not authorized under 28 U . S.C. § 1441 . According to the forgoing given
20
     this Court lacks removal jurisdiction . Therefore it lacks subject matter jurisdiction as
21   a matter of law . See, Cog dell v. Wyeth, 366 F . 3d 1245, 1247 ( 11 th, Cir 2004).
22                  ( D) THE COUIRT LACKS DIVERSITY JURISDICTION
            The Court lacks subject matter jurisdiction over this civil matter under 28
23
     U.S.C. §    1332(a)(1) because the Plaintiffs ,      Defendant FleetBoston Fi nancial
24
     Corporation f/k/a BankBoston Corporation and FleetBoston Financial Corporation of
25   Delaware are not diverse in this action and all are citizens of the State of Georgia .



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 1   The FleetBostons are both deemed citizens of th is State pursuant to 28 U .S .C . §
     1332(c)(1) which reads as follows :
 2
                          "(c) For the purposes of this section and section
 3                  1441 of this title - (1) a corporation shall be deemed to
                    be a citizen of any State by which it has been
 4                  incorporated and of the State where it has its principal
                    place of business . . ."
 5

 6          Its clear from the holding in Louisville & NRR v. Meredith , 66 Ga . App. 4 88,
     18 SE2d 51 (1941 ) that FleetBoston of Rhode Island and FleetBoston of Delaware by
 7
     filing their applications for a Certificate of Authority with the Georgia Secretary of
 8
     State 's they had a "principal place of bus i ness" in Georg i a before it withdrew from
 9   doing business in this State .      Therefore , the FleetBostons were legal citizens of
10   Georg ia pursuant to 28 U .S . C . § 1332(c)(1) and are not diverse in this civil action .
     The Cou rt lack diversity subject matter j urisdiction under 28 U . S . C . § 1332(a)(1) .
11
            This Court must deny any relief to FleetBoston Financial Corporation of
12
     Delaware a non-party defendant and dismiss and remand this action back to the
13   Superior Court of Fulton County .
14                         (E) FLEETBOSTON OF DELAWARE LACKS
                                STANDING TO REMOVE CASE
15
            Any party invoking federal jurisdiction bears the burden to establish standing .
16   See, Bennett v. S ear, 520 U . S. 154, 167-68 (1997) . FleetBoston's attorneys
17   initially argue that this District Court has subject matter jurisdiction in an attempt to

18   evade the mootness and standing issues . FleetBoston's arguments are misplaced .
     Rule 12(h)(3) does not require the Court to make the inferences necessary to
19
     establish tha t there is federal subject matter jurisdiction . Federal courts are confined
20
     by Article 11 1 of the United States Constitution to deciding on ly actual cases or
21   controversies . Allen v. WriA ht, 468 U .S . 737, 750 (1984) . F edera l courts can only

22   decide a "live grievance ." See, Am. Postal Workers Union v. Frank, 968 F.2d
     1373, 1374 (Ist Cir . 1992) (quoting Golden.
                                               n v. Zwickler, 394 U . S. 103, 110 (1969)
23
     Standing is thus a threshold question in every case, requiring the Court to determine
24
     "whether the [party] has 'alleged such a personal stake in the outcome of the
25   controversy' as to warrant invocation of federal-court jurisdiction ." See Warfh. 422



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       U.S . at 498-99 (quoting Baker v. Carr, 369 U.S. 186, 204 (1962) . The constitutional
       standing inquiry has three elements . A litigant bears the burden of showing "that he
 2
       personally has suffered some actual or threatened injury as a result of the putatively
 3
       illegal conduct of the defendant, and that the injury fairly can be traced to the
 4
       challenged action and is likely to be redressed by a favorable decision ." See, Valley
 5     Forge Christian Coll. v. Ams. United for Separat ion of Church & State, Inc., 454

 6     U . S. 464, 472 (1982) (internal quotations omitted} . The standing inquiry "involves
       both constitutional limitations on federal-court jurisdiction and prudential limitations on
 7
       its exercise . See, Barrows v. Jackson, 346 U .S . 249, 255-56 (1953) describing :
 8
                             "Federal courts have identified a number of
 9                   prudential concerns regarding the proper exercise of
                     federal jurisdiction . Three of these areas are well-
10                   established : (1) the complaint must "fall within the zone
                     of interests protected by the law invoked ; (2) the
11                   [defendant] "must assert his own legal rights and
                     interests, and cannot rest his claim to relief on the legal
12
                     rights or interests of third parties" ; and (3) the suit must
13                   present more than "abstract questions of wide public
                     significance which amount to generalized grievances,
14                   pervasively shared and most appropriately addressed in
                     the representative branches"
15
              Since Defendant FleetBoston Financial Corporation               flk/al BankBoston
16
       Corporation has not legally removed this action nor gave its consent to the removal of
17     this action to FleetBoston Financial Corporation of Delaware . Under the second

18     prolong of Barrows v. Jackson, Supra, the Defendant FleetBoston Financial
       Corporation f/k/a BankBoston Corporation "must assert [its] own legal rights and
19
       interests, and cannot rest [its] claim to relief on the legal rights or interests of third
20
       parties" (i .e. FleetBoston Financial Corporation of Delaware its "Place Holder
21     Corporation') . Perhaps one of the most important of the Article 111 doctrines grounded
22     in the case-or-controversy requirement is that of standing . See Allen , 468 U . S. at
       750, 104 S .Ct. at 3324 . "fn essence the question of standing is whether the litigant is
23 ~
       entitled to have the court decide the merits of the dispute or of particular issues ."
24 i
       Warth v. Seldin, 422 U .S . 490, 498, 95 S.Ct . 2197, 2205, 45 L. Ed .2d 343 (1975) .
25     F1eetBostion Financial Corporation of Delaware seeking to invoke a federal court's



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 7   jurisdiction must demonstrate three things to establish standing under Article Ill . It
     must first show that it has suffered an "injury-in-fact ." See, Lu, ian v. Defenders of
 2
     Wildlife, 504 U . S. 555, 560, 112 S.Ct. 2130, 2136, 119 L. Ed. 2d 351 (1992) .
 3
     Specifically, the asserted injury must arise out of the invasion of a legally protected
 4
     interest that is sufficiently concrete and particularized rather than abstract and
 5   indefinite . See Lujan, 504 U.S. at 560, 112 S.Ct. at 2136 ; see also FEC v. Aki ns,

 6   524 U .S. 11, 22-24, 118 S .Ct. 1777, 1785-86, 141 L. Ed.2d 10 (1998) . Second
     FleetBoston Financial Corporation of Delaware must show a causal connection
 7
     between the asserted injury-in-fact and the challenged action of the Plaintiffs . This
 8
     causal connection cannot be too attenuated . Third a FleetBoston Financial
 9   Corporation of Delaware must show that it is likely rather than speculative that "the
10   injury will be redressed by a favorable decision ." See also Miccosukee Tribe of
     Indians v. Florida State Athletic Comm'n, 226 F.3d 1226, 1228 (11th Cir .2000)
11
     (setting forth the three-part test for constitutional standing) . See also Valley Forge
12
     Christian Colle_ge v. Americans United for Separation of Church and State, lnc.,
13   454 U .S. 464, 472, 102 S.Ct . 752, 758, 70 L. Ed.2d 700 (1982) .
14
                           " In determining whether a plaintiff has established
75                 standing , we keep in mind the Article Ill notion that
                   federal courts may exerc i se power only in the last resort ,
16                 and as a necessity , and when the dispute is one
                   traditionally thought to be capable of resolution through
17                 the jud icial process." Cox, 183 F. 3d at 1262 -63 ( internal
                   quotation marks omitted) (c iting Allen , 468 U .S. at 752 ,
18                 104 S . Ct. at 3325) . As an in itial matter , we emphasize
                   that the district court corre ctly reached out and
19
                   considered th e question of standing sua sponte .
20
            The Untied States Supreme Court made clear in United States v. Ha vs , 515
21   U .S . 737, 115 S. Ct. 2431, 132 L . Ed. 2d 635 (1995),

22
                           "the question of standing is not subject to
                   waiver . . .' The federal courts are under an independent
23
                   obl i gation to examine their own jurisdiction, and
24                 stand i ng is perhaps the most important of the
                   juri sdictional do ctri nes ."
25



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 7           See also University of South Alabama v. American Tobacco Co .. 168 F. 3d

 2   405, 410 (11th Cir . 1999) (noting that "it is well settled that a federal court is obligated
     to inquire into subject matter jurisdiction sua sponte whenever it may be lacking") ;
 3
     Cuban American Bar Assn , Inc. v. Christopher, 43 F. 3d 1412, 1422 (11th Cir .
 4
     1995) holding that
 5
                          " before rendering a decision . . . every federal court
 6                 operates under an independent obligation to ensure it is
                   presented with the kind of concrete controversy upon
 7                 which its constitutional grant of authority i s based ; and
                   this obl igation on the court to exami ne its own
 8                 jurisdiction cont inues at each stage of the proceedings ,
                   even if no party raises the jur isdictional issue and both
 9
                   parties are prepared to concede it '."
10           Quoting Hallandale Prof'1 Fire Fighters Local 2238 v. City of Hallandale ,
11   922 F. 2d 756, 759 (11th Cir . 1997)) ; Alabama v. United States Envtl. Protection

12   A enc      871   F . 2d 1548, 1554 (11th Cir . 1989) (noting that "[s]tanding is a
     jurisdictional prerequisite to suit in federal court") (citing Valley Forge Christian
13
     College v. Americans United for Separation of Church and State, 454 U . S . 464,
14
     475-76, 102 S . Ct. 752, 70 L. Ed .2d 700 (1982) . Thus, since FleetBoston Financial
15   Corporation of Delaware is a dissolved corporation and was not named as a party-

16   defendant in this action it lacks legal standing in this civil action as a matter of law .

17          (F) MOOTNESS OF NOTICE OF REMOVAL AND THE COURT LACKS
                SUBJECT MATTER JURISDICTION ON MOOT QUESTIONS
18
            The Court lacks subject matter jurisdiction over this civil matter because the
19   Notice of Appeal to the Supreme Court of Georgia made the Notice of Removal moot
20 ~ as a matter of law . Plaintiff Tony L . Ware was appealing the final judgment and all
     orders issued in this action . Mr. Ware's appeal was subject to review by the Georgia
21
     Supreme Court . Thus, the right of remove this action was no longer a live issue .
22
     Because FleetBoston Financial Corporation of Delaware is a dissolved corporation it
23   lacks a legally cognizable interest in the outcome of this civil action .
24          FleetBoston ' s attorneys knew that such Notice of Appeal vests the Georgia
     Supreme Court with subject matter jurisdiction over Plaintiff's appeal pursuant to
25



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 1   O . C . G .A. § 5- 6-47(a) prior to its improper removal . Therefore th is Court lacks subject
     matter jurisdiction on moot questions and to remove appellate jurisdiction from the
 2
     Georgia Supreme Court . See, Westmoreland v. National Transportation Safety
 3
     Board, 833 F. 2d 1461, 1462 { 11 t", Cir 1987).
 4
            FleetBoston Financial Corporation of Delaware also lacks standing to remove
 5   Plaintiffs' c ivil action under O . C . G .A. § 14-2-1401 . Therefore t he question of whether

 6   FleetBoston Financ ial Corporation of Delaware can remove t h is acti on to federal
     court became a moot issue and th is Court lacks subject matter jur isdiction to remove
 7
     appellate j urisdict ion from the Georgia Supreme Court wh ile Plaint iff Tony L . Ware
 8
     was on appeal . The Untied States Supreme Court has in Mills v. Green, 159 U .S .
 9   651 ,653 , 16 S.Ct. 132, 132 , 40 L .Ed . 293 (1895) that
10                          " It has been long settled that a federal court has
                    no authority to give opinions upon moot questions or
11                  abstract propositions , or to declare pri nciples or rules of
                    law which cannot affect the matter in issue in the case
12                  before it ."
13          See also, Church of S cientology of California v. United States, 506 U . S . 9,
14   113 S. Ct. 447, 121 L .Ed.2d 313 ( 1992 ) ; The Eleventh Circuit Court of Appeal has

15   said in Westmoreland v. National Transportation Safety Board, 833 F.2d
     1461,1462 ( 1 '! t", Cir 1987) the following :
16
                           "Federal courts do no have jurisdiction under the
17                  Article III `Case or Controversy' provision of the United
                    States Constitution to decide questions rendered moot
78                  by reason of intervening events . When effective relief
                    cannot be granted because of later events, the (petition
19                  for removal) must be dismiss as moot ."
20
            As stated herein not only did FleetBsotion Financial Corporation of Delaware
21   lacked legal stand i ng to remove this civil action from Fulton Superior Court , the
22   removal process itself became moot once Pla i ntiff Tony L . . Ware filed his Notice of
     Appeal in the State Court . The case was no longer a l ive case under O .C .G .A . § 5-6-
23
     34(a) . The removal was also moot because FleetBoston Financ ial Corporation of
24
     Delaware lacked a legally cognizable i nterest in the outcome of this case as
25



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        7   dissolved corporation . See, Murphy v. Hunt, 455 U .S. 478, 102 S. Ct. 1181, 71

        2   L.Ed .2d 353 (1982) .
                  (G) FLEETBOSTON OF DELAWARE CANNOT REMOVE THIS ACT ION
        3                 WITHOUT A CERTIFICATE OF AUTHOURTY FROM
                              THE GEORGIA SECRETARY OF STATE
        4
                   Both FleetBoston Financial Corporation of Rhode Island and FleetBoston
        5
            Financial Corporation of Delaware are barred from bringing and maintaining any
        6   removal proceeding without having first obtained new Certificates of Authority from
        7   the Georgia Secretary of State pursuant to O .C .G.A. § 14 -2-1502(a).
                   Under Georgia Law no foreign corporation may maintain any proceeding in
        8
            any Court of in this State without first obtaining a Certificate of Authority . Thus
        9
            FleetBoston Financial Corporation of Delaware and not FleetBoston Financial
       10   Corporation f/k/a Ban kBoston Corporation of Rhode Island improperly removed this
       11   action without a Certificate of Author i ty from th e Georgia Secretary of State . It is too

       12   late to apply for a Certificate of Authority because FleetBoston Financial Corporation
            of Delaware is now deemed a dissolved corporation according to "SECOND
       13
            AFFIDAVIT OF MARTHA R . FRANCIS" which reads as follows :
       14
                                 "6 . FBC(Del) was legally dissolved in the state of
       75                 Delaware on July 13 , 2004. A true and correct copy of
                          the certifi ed Certificate of Dissolution is attached hereto
       16                 as Exhibit 1 ."

       17          Therefore, without a legal Certificate of Authority from the Georgia Secretary

       18   of State , a foreign corporat ion may not "mai ntain any proceeding" in this State . This
            will include mainta ining a removal proceeding in Federal Court.         A removal of an
       19
            acti on from State Court to Federal Court must be deemed a new proceeding in the
       20
            Federal District Court . Thus FleetBoston Financial Corporation of Delaware cannot
       21   maintain this proceeding as a matter of law . See, O .C .G.A. § 14-2-1502(a) which
       22   reads as follows :
                                 "A foreign corporation transacting business in
       23
                          this state w ithout a certificate of authority may not
                          maintain a proceed i ng in any court in th i s state until it
       24
                          obtains a certificate of author ity."
       25




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 1          FleetBoston Financial Corporation of Delaware would now have to re-

 2   incorporate, obtain a new Certificate of Authority from the Georgia Secretary of State,
     file an Answer to the Complaint and properly Intervene in order to maintain this
 3
     removal proceeding.
 4
                                        IV. CONCLUSION
 5
            The Court is required to remand this civil matter because the Notice of
 6   Removal is legally insufficient as it is untimely under 28 U . S . C . §1446(b) filed 34

 7   days late and lack of consent to the removal process by the true Defendant in this
     action after it was served of the initial Summons and Complaint on December 1 prn
 8
     2004 . The Court also lacks subject matter jurisdiction on the issues of mootness of
 9
     this action and the standing to remove this action by FleetBoston Financial
10   Corporation of Delaware . Therefore , the Court must remand this case back to the
11   Superior Court of Fulton County as required by 28 U .S .C . § 1447(c) .

12          WHEREFORE , The Plaintiffs hereby pray that this Court enter an FINAL

     ORDER dismissing and remanding this case for lack of subject matter jurisdiction
13
     and defects in the removal process to the Superior Court of Fulton County or the
14
     Georgia Supreme Court so that the Plaintiffs in this matter can protect their legal
15 ~ rights as a matter of law . The Plaintiffs request any further relief deemed proper and

16   just by the Court : Plaintiff's Attorney requests afl attorney fees and Costs .

17          This        /&6         -, da    of                                        , 2005.

18   Respectfully Submitted By :                        Res pectfully Subm itted By:

19                                                                     r `~            ~

20   Michael R . Joh on , Sr .                          Tony L . Ware , JD , Plaintiff
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                                                    FEE                     $10 .00
       Suite 3 15 , West Tower
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    Atlanta, Geo rg ia 30334-1530

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                                   ACKNOWLEDGEMENT OF RECEIPT


      I, Cathy Cox, the Secretary Of State of the State of Georgia, do hereby acknowledge the
      receipt of copies of legal documents relating to service of process upon the following :




                               FLEETBOSTON FINANCIAL CORP .
                              FULTON COUNTY SUPER I OR COURT
                                     CA# 2004CV94553



      Said documents are filed w ith the Secretary Of State under the docket number referred to above .
      If certified copi es are requested , the request must be made by docket number .




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                                                                 6bk~Ll nt(p
                                                                            Secretary of State
                                                                                Cathy Cox
